917 F.2d 1301Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ernest Richard FELDER, Petitioner-Appellant,v.Robert A. HARLESTON, Warden,  Maryland Parole Commission,Attorney General of the State of Maryland,Respondents-Appellees.
    No. 90-7361.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 11, 1990.Decided Nov. 8, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-90-1859)
      Ernest Richard Felder, appellant pro se.
      D.Md.
      DISMISSED.
      Before MURNAGHAN and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ernest Richard Felder seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Felder v. Harleston, CA-90-1859 (D.Md. July 17, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    